           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:06CR250-2

UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )              ORDER
                                                   )
ERCULANO CASTRO-CAZAREZ.                           )
__________________________________                 )

        THIS MATTER is before the court upon defendant’s Motion for Bond filed

January 12, 2007. The district court specifically referred such motion to the

undersigned for disposition on August 1, 2007, after counsel for defendant failed to

respond to an inquiry from the district court. On August 6, 2007, the undersigned

also inquired of counsel, but such call has not been returned. Having considered

defendant’s Motion for Bond and reviewed the pleadings, the court enters the

following Order.



                                     ORDER

        IT IS, THEREFORE, ORDERED that defendant’s Motion for Bond is

DENIED without prejudice.




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                                    Signed: August 7, 2007




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